             Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 1 of 13 PageID #: 5




a              IN THE 36TH JUDICIAL CIRCUIT, BUTLER COUNTY, MISSOURI

 Judge or Division:
 MICHAEL MARTIN PRITCHETT
                                                                  Case Number: 21BT-CV01020

 Plaintiff/Petitioner:                                            Plaintiff's/Petitioner's Attorney/Address
 TIFFANY FRASER                                                   LUKE MATTHEW HENSON
                                                                  1165 Cherry Street
                                                                  P.O. BOX 696
                                                         vs.      POPLAR BLUFF, MO 63902
 Defendant/Respondent:                                            Court Address:
 TRACY SAMBO, MD ET AL                                            100 NORTH MAIN ST
 Nature of Suit:                                                  POPLAR BLUFF, MO 63901
 CC Pers Iniurv-Malpractice
                                                         Summons in Civil Case
  The State of Missouri to: POPLAR BLUFF HMA PHYSICIAN MANAGEMENT LLC
                            Alias:
 REGISTERED AGENT
 CSC-LAWYERS INCORPORATING
 221 BOLIVAR STREET
 JEFFERSON CITY MO 65101
          COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
            ~ou~r~F                    copy of which is attached, and to serve a copy of your pleading upon the attomey for
                                       plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                       exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                       be taken against you for the relief demanded in the petition.
               ~zI >

          BUTLER COU/JTY                              5/28/2021                                               sm"ZZ—)
                                                         Date                                                   Clerk


                                                           Sheriff's or Server's Return
     Note to serving ofFcer: Summons should be returned to the court within 30 days after the date of issue.
     I cer6fy that I have served the above summons by: (check one)
     ❑ delivering a copy of the summons and a copy of the petition to the defendant/respondent.
     ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defen dant/respon dent with
                                                                        a person of the defendant's/respondent's family over the age of
          15 years who permanently resides with the defen dant/respon dent.
     ❑ (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
                                                                  (name)                                                         (title).
     ❑ other:

     Served at                                                                                                                          (address)
     in                                           (County/City of St. Louis), MO, on                               (date) at            _   (time).



                       Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                   Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on                                                (date).
             (Sea!)
                                    My commission expires:
                                                                         Date                                      Notary Public
  Sheriffs Fees, ifapplicable
  Summons                     $
  Non Est                     $
  SherifPs Deputy Salary
  Supplemental Surcharge      $      10.00
  Mileage                     $                    (_      miles @ $.       per mile)
  TotaI                       $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.

OSCA (06-18) SM30 (SMCC) ForCourt Use Only. Document Id # 21-SMCC-154                  1 of 1             Civil Procedure Form No. 1; Rules 54.01 —54.05,
                                                                                                  54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 2 of 13 PageID #: 6

                                                                21BT-CV01020

STATE OF MISSOURI           )
                            )ss
COUNTY OF BUTLER            )

            IN THE CIRCUIT COURT OF BUTLER COUNTY, MISSOURI

TIFFANY FRASER,                                         )
                                                        )
                     Plaintiff,                         )
                                                        )
Vs.                                                     )Case No.
                                                        )
TRACY SAMBO, MD,                                        )
                                                        )
SERVE: 578 Jupiter Road                                 )
       Camdenton, MO 65020                              )
And                                                     )JURY TRIAL DEMANDED
                                                        )
POPLAR BLUFF HMA PHYSICIAN                              )
MANAGEMENT, LLC,                                        )
                                                        )
SERUE: Registered Agent                                 )
       CSC-Lawyers Incorporating                        )
       221 Bolivar Street                               )
       Jefferson City, MO 65101                         )
                                                        )
And                                                     )
                                                        )
POPLAR BLUFF REGIONAL MEDICAL CENTER, LLC, )
SERVE:CSC Lawyers Inc. Service Company     )
    221 Bolivar Street                     )
    Jefferson City, MO 65101               )
                                                        )
                                                        )
                            Defendants.                 )


                                     PETITION

                   ALLEGATIONS COMMON TO ALL COUNTS

      COMES NOW Plaintiff, Tiffany Fraser, by and through counsel, Luke M. Henson

of Kennedy, Kennedy, Robbins & Yarbro, LC attorneys and counselors at law, 1165
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 3 of 13 PageID #: 7




Cherry Street, Poplar Bluff, 1VI0 63901 and for her cause of action against

Defendants, states as follows:


   1. Plaintiff Tiffany Fraser is a resident of the County of Butler, State of Missouri,

currently residing at 1627 Spring Street, Apt. 11, Poplar Bluff, Missouri.

   2. That at all times mentioned, Defendant Tracy Sambo, MD, ("Defendant
                                                                                           L
Sambo") was a physician and surgeon in and about the Poplar Bluff and Butler               21


County areas.

   3. At all times relevant hereto, Defendant Sambo was a physician who held

herself out to the public as having expertise in general surgery and was engaged in

the practice of inedicine, as an employee of Defendant Poplar Bluff HMA Physician

Management, LLC.

   4. Defendant Poplar Bluff Regional Medical Center, LLC, ("Defendant PBRMC")

is a limited liability company organized under the laws of the State of Missouri

operating a hospital in Butler County, Missouri, providing health care services to

individuals through its employees, said employees being directly compensated by

Defendant PBRMC and/or supplied to Defendant PBRMC by a staffing entity,

including, but not limited to, Tracy Sambo, M.D.

   5. Defendant Poplar Bluff HMA Physician Management, LLC, ("Defendant

HMA") is a limited liability company organized under the laws of the State of

Missouri, providing health care services to individuals at Defendant PBRMC's Butler

County Hospital through its employees.
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 4 of 13 PageID #: 8




    G. That at all times mentioned Defendant Sambo acted both in her individual

capacity and as the agent, servant and/or employee of Defendants PBRMC and H1VIA.

    7. Venue is proper in the Circuit Court of Butler County pursuant to RSMo.

§508.010, as the events that gave rise to this lawsuit occurred in Butler County,

1Vlissouri.

   8. At all times relevant hereto, Defendant PBRMC's employees, including

Defendant Sambo, other doctors, nurses and personnel, provided health care services

to Plaintiff within the course and scope of their employment with Defendant PBRMC.

   9. On or about May 17, 2019, Plaintiff presented to the office of Defendant Sambo

complaining of recurrent right upper quadrant pain, and was diagnosed with chronic

cholecystitis and gallstones.

   10.On or about May 30, 2019, Plaintiff underwent a laparoscopic cholecystectomy

performed by Defendant Sambo.

    ll.On or about May 30, 2019, Plaintiff presented to Defendant PBRMC's

Emergency Department complaining of severe post-surgical abdominal pain.

   12. On or about June 5, 2019, Plaintiff presented to her primary care physician

complaining of severe pain located in the epigastric area, further complaining that

she was only able to tolerate small amounts of food before having worsening pain.

   13.On or about June G, 2019, Plaintiff presented to Defendant PBRMC's

Emergency Department complaining of severe post-surgical abdominal pain and

substernal tightness.
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 5 of 13 PageID #: 9




   14.On or about June 7, 2019, Plaintiff presented to Defendant Sambo's office

complaining of increasing, sharp, right upper quadrant pain, anorexia and nausea.

At this time, she was admitted to Defendant PBRMC.

   15. On or about June 7, 2019, Plaintiff consulted with the Gastroenterologist on

staff at PBRIVIC, and was diagnosed with a common bile duct leak.

   16. On or about June 8, 2019, Plaintiff was transferred to Barnes Jewish Hospital

in St. Louis, Missouri, where she remained under the care of Dr. Ryan Courtney

Fields until her discharge on June 12, 2019.

   17.While in Barnes Jewish Hospital, a bilious drain and pelvic drain were placed

to drain biliary fluid from her abdomen and Plaintiff was placed on oral and IV fluids

for rehydration. She was discharged with a pelvic biloma drain and was referred to

home health care for help with wound and ostomy care.

   18. On or about June 20, 2019, Plaintiff underwent a diagnostic angiography with

embolization of bleeding pseudoaneurysms of the hepatic artery around the periphery

of her biloma, exchange of the existing biliary drainage catheter, and removal of the

existing pelvic drainage catheter. She was admitted for observation, and after

receiving multiple units of blood, was discharged on June 22, 2019.

   19. On or about July 8, 2019, Plaintiff followed up with her Hepatobiliary Surgery

team at Barnes Jewish Hospital complaining of nausea, weight loss, episodes of

shortness of breath, episodes of palpitations, blood in stool and constipation. Plaintiff

was found to be in renal failure and was admitted. Upon Nephrology consult with Dr.

Andy    Chuu,   Plaintiff   was   diagnosed    with   Hyponatremia,     Hypercalcemia,
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 6 of 13 PageID #: 10




Hyperkalemia and High Anion Gap Metabolic Acidosis (HAGMA). Plaintiff was

treated with IV fluids and continuation of her bilious drains. She was discharged on

July 11, 2019, after placement of a Hohn catheter to facilitate administration of

replacement IVF at home every other day to keep up with her bilious losses.

   20.Plaintiff underwent Interventional Radiology procedures on July 26, 2019, and

August 12, 2019, to exchange her bilious drains.

   21.On August 12, 2019, Plaintiff followed up with Dr. Ryan Courtney Fields to

further assess her condition, and schedule repair of Plaintiffs E2 bile duct injury.

   22.On or about September 11, 2019, Plaintiff underwent a Roux-en-Y procedure

or hepaticojejunostomy at Barnes Jewish Hospital, performed by Dr. Ryan Courtney

Fields. She remained inpatient at Barnes Jewish Hospital until her discharge on

September 16, 2019.

   23.On or about October 11, 2019, Plaintiff had her last drain removed by

Interventional Radiology.


                                      COUNTI

              MEDICAL NEGLIGENCE AGAINST ALL DEFENDANTS

      COMES NOW Plaintiff, Tiffany Fraser, and for Count I of her Petition, states

as follows:

   24.Plaintiff hereby re-alleges and incorporates by referenced the allegations set

forth in paragraphs 1-23 as though fully set forth herein.

   25. In entering into a patient relationship with Plaintiff, there was a foreseeable

likelihood that Defendants, by and through their employees, acts or omissions in
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 7 of 13 PageID #: 11




providing health care services could cause Plaintiff harm or injury, thereby placing a

duty upon Defendants to use such care in their undertaking to treat Plaintiff as would

a reasonably prudent health care provider under similar circumstances.

   26. Beginning on or about May 30, 2019, Defendants breached said duty to use

such care as would a reasonably prudent health care provider under similar

circumstances, in that:
                                                                                         ~:
             a. Defendants failed to properly perform surgery on Plaintiff on 1VIay

                30, 2019, by injuring and damaging her ductal system;

             b. Defendants failed to recognize that they had improperly performed

                surgery on May 30, 2019;

             c. Defendants lied to the subsequent treating surgeon at Barnes Jewish

                Hospital, stating they use paper charts and have lost the operative

                report that Barnes had requested;

             d. Defendants failed to timely diagnose and properly treat the injured

                and damaged ductal system during the improperly performed

                surgery on 1VIay 30, 2019;

             e. Defendants failed to properly identify and protect internal

                structures, including but not limited to, the ductal system and

                surrounding structures during the surgery of May 30, 2019;

             f. Defendants cut, perforated and damaged the ductal system during

                the surgery of May 30, 2019;
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 8 of 13 PageID #: 12




              g. Defendants failed to do an intraoperative cholangiogram to identify

                 Plaintiff's anatomy so as to not damage the ductal system and

                 surrounding structures;

              h. Defendants failed to follow the critical view of safety;

              i. Defendants improperly clipped structures following the injury to the

                 ductal system and surrounding structures;

              j. Defendants failed to completely identify Plaintiff's anatomy before

                 placing one or more surgical clips or take into account the damaging

                 effects of the clip placement;

              k. Defendants failed to provide Plaintiff with proper and complete

                 informed consent prior to the May 30, 2019, surgery, including but

                 not limited to failure to inform Plaintiff that a patient had died

                 approximately two months before at the hands of Defendant Sambo

                 performing the same or similar procedure.

   27.As a direct and proximate result of Defendants' failure to use such care as

would a reasonably prudent health care provider, Plaintiff was caused to undergo

additional medical procedures, incur medical expenses for the same, lose enjoyment

of life, suffer lost wages, and otherwise suffered personal injury.

   28. Defendants' conduct was intentional, willful, outrageous, reckless, and in

wanton disregard for the rights of Plaintiff.

   29.Plaintiff is entitled to punitive damages for Defendants' conduct as are fair and

reasonable.
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 9 of 13 PageID #: 13




    WHEREFORE, Plaintiff prays this Court enter Judgment in her favor and against

Defendant Tracy Sambo, MD, joint and severally with all remaining Defendants, in

an amount in excess of the jurisdictional thresholds of this Court, and for any other

and further relief as the Court deems just and proper under the premises.


                                     COUNT II

                         NEGLIGENT CREDENTIALING

        COMES NOW Plaintiff, Tiffany Fraser, and for her claims and causes of action

against Defendants PBRMC and HMA, states as follows:

   30.Plaintiff hereby re-alleges and incorporates by reference the allegations set

forth in paragraphs 1-29 as though fully set forth herein.

   31. Upon information and belief, on March 28, 2019, Defendant Sambo performed

a laparoscopic cholecystectomy on patient Linda Haislip at Defendant PBRMC and

during said procedure severed one of 1VIrs. Haislip's arteries, causing her to lose

between one and half to two and a half liters of blood, and pass away from those

inj uries.

   32. That Defendants PBRIVIC and HMA knew of the surgical death that occurred

just 63 days before Plaintiff's laparoscopic cholecystectomy performed by Defendant

Sambo and should have taken actions to assure the surgical competency of Defendant

Sambo before allowing her to perform further procedures and in particular the same

type of surgery subsequently performed on Plaintiff.

   33. That Defendants PBRMC and HMA possessed a duty to properly investigate

and determine the competence of Defendant Sambo in allowing her surgical
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 10 of 13 PageID #: 14
                                                                                         r;




privileges and to disallow such privileges, should Defendant Sambo be found not to

be competent to perform laparoscopic cholecystectomies.

    34. Defendants PBRMC and HMA also bore the responsibility to protect and

otherwise warn patients such as Plaintiff of in£ormation they possessed regarding

Defendant     Sambo     with    her   incompetency    in   performing    laparoscopic

 cholecystectomies whose actions lead to the death of a patient during surgery 63 days   ~

p rior.

    35. That Defendants PBRMC and HMA had a duty to review Defendant Sambo's

credentials and background through the hospital's application process before

granting her continuing surgical and staff privileges following Linda Haislip's death.

    36. That Defendants PBRMC and HMA had a duty to periodically review the

reappointment and continuing surgical privileges of Defendant Sambo especially

after the death of Linda Haislip on March 28, 2019.

    37. Defendants PBRMC and HMA acting through their staff were negligent, i7ater

alia:

              a. Failing in their duty to select and retain competent physicians and

                 surgeons seeking staff privileges, and investigate same, specifically

                 Defendant Sambo;

              b. Granting staff privileges to Defendant Sambo and continuing those

                 surgical privileges after the death of Linda Haislip, by failing to

                 perform an adequate investigation and ignoring facts uncovered by

                 its investigation;
Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 11 of 13 PageID #: 15




             c. In granting staff and surgical privileges to Defendant Sambo or

                failing to restrict or limit those privileges after the death of Linda

                Haislip by failing to perform an adequate investigation and ignoring

                facts uncovered by its investigation;

             d. Failing to warn Plaintiff that Defendant Sambo was lacking in

                competence to perform a laparoscopic cholecystectomy on her and

                otherwise allowing Defendant Sambo to treat Plaintiff and causing

                her injury as stated herein;

   38. As a direct and proximate result of the negligence, carelessness, and reckless

disregard of Defendants PBRMC and HMA, Plaintiff was seriously and painfully

injured.

   WHEREFORE, Plaintiff prays this Court enter Judgment in her favor and against

Defendants PBRMC and HMA, joint and severally with all remaining Defendants, in

an amount in excess of the jurisdictional thresholds of this Court, and for any other

and further relief as the Court deems just and proper under the premises.

                          Respectfully submitted,

                          KENNEDY, KENNEDY, ROBBINS & YARBRO, LC

                          Ls/ Luke M_ Hensen
                          Luke M. Henson           #68512
                          1165 Cherry Street
                          P. 0. Box 696
                          Poplar Bluff, MO 63902
                          Telephone: (573) 686-2459
                          Telefax:     (573) 686-7822
                          luke@kkrylawfirm.com

                          ATTORNEY FOR PLAINTIFF
                 Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 12 of 13 PageID #: 16


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                                           21BT-CV01020 - TIFFANY FRASER V TRACY SAMBO MD ET AL (E-CASE)

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Click here to Respond to Selected Documents                                                                                                All Entries

 05/27/2021                 Judge Assigned
                            Pet Filed in Circuit Ct
                            Petition.
                               Filed By: LUKE MATTHEW HENSON
                               On Behalf Of: TIFFANY FRASER
                            Filing Info Sheet eFiling
                                Filed By: LUKE MATTHEW HENSON

 05/28/2021                 Case Review Scheduled
                                Scheduled For: 11/22/2021; 9:00 AM ; MICHAEL MARTIN PRITCHETT; Butler
                            Summons Issued-Circuit
                            Document ID: 21-SMCC-153, for SAMBO, MD, TRACY. SUMMONS ATTACHED IN PDF FORM FOR ATTORNEY TO RETRIEVE
                            FROM SECURE CASE NET TO OBTAIN SERVICE.
                            Summons Issued-Circuit
                            Document ID: 21-SMCC-154, for POPLAR BLUFF HMA PHYSICIAN MANAGEMENT LLC. SUMMONS ATTACHED IN PDF FORM
                            FOR ATTORNEY TO RETRIEVE FROM SECURE CASE NET TO OBTAIN SERVICE.
                            Summons Issued-Circuit
                            Document ID: 21-SMCC-155, for POPLAR BLUFF REGIONAL MEDICAL CENTER LLC. SUMMONS ATTACHED IN PDF FORM FOR
                            ATTORNEY TO RETRIEVE FROM SECURE CASE NET TO OBTAIN SERVICE.

 07/14/2021                 Affidavit Filed
                            Affidavit of Attorney as to Defendant Tracy Sambo.
                                Filed By: LUKE MATTHEW HENSON
                            Affidavit Filed
                            Affidavit of Attorney as to Defendant HMA Physician Management.
                                Filed By: LUKE MATTHEW HENSON
                            Affidavit Filed
                            Affidavit of Attorney as to Defendant Poplar Bluff Regional Medical Center.
                                Filed By: LUKE MATTHEW HENSON
                                On Behalf Of: TIFFANY FRASER

 09/07/2021                 Notice of Service
                            SUMMONS 21-SMCC-153 NON-EST
                              Filed By: LUKE MATTHEW HENSON
                            Alias Summons Requested
                            Request for Issuance of Alias Summons.
                              Filed By: LUKE MATTHEW HENSON
                              On Behalf Of: TIFFANY FRASER
                            Summons Returned Non-Est
                            Document ID - 21-SMCC-153; Served To - SAMBO, MD, TRACY; Server - CAMDEN COUNTY CIRCUIT COURT; Served Date - 02-
                            SEP-21; Served Time - 14:30:00; Service Type - Sheriff Department; Reason Description - Non-est

 09/08/2021                 Answer Filed
                            Answer of Defendant Poplar Bluff Regional Medical Center, LLC; Electronic Filing Certificate of Service. Forwarded to Judge for
                            review. jv
                               Filed By: MICHAEL D. MURPHY
                            Motion to Strike
                            Forwarded to Judge for review. jv
                               Filed By: MICHAEL D. MURPHY
                            Motion for Change of Venue
                            Application for Change of Venue; Electronic Filing Certificate of Service. Forwarded to Judge for review. jv
                                                                                                                                                              Privacy - Terms
                              Filed By: MICHAEL D. MURPHY
             Case: 1:21-cv-00137-ACL Doc. #: 1-1 Filed: 09/20/21 Page: 13 of 13 PageID #: 17
                             On Behalf Of: POPLAR BLUFF REGIONAL MEDICAL CENTER LLC

09/09/2021                 Judge/Clerk - Note
                           Court reviews Answer Of Defendant Poplar Bluff Regional Medical Center, LLC. MMP/cp
                             Filed By: MICHAEL MARTIN PRITCHETT
                           Judge/Clerk - Note
                           Court reviews Motion To Strike Or Dismiss Plaintiff's Punitive Damage Allegations And Memorandum Of Applicable Law Re Same.
                           MMP/cp
                             Filed By: MICHAEL MARTIN PRITCHETT
                           Judge/Clerk - Note
                           Court reviews Application For Change Of Venue. MMP/cp
                             Filed By: MICHAEL MARTIN PRITCHETT
Case.net Version 5.14.23                                               Return to Top of Page                                              Released 08/11/2021




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